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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION


UNITED STATES OF AMERICA,                    )
                                             )
             Plaintiff,                      )
                                             )
v.                                           )     CASE NO. 4:18CR805 HEA
                                             )              4:12CR182 HEA
MICHELLE L. SMITH,                           )
                                             )
             Defendant.                      )


                  OPINION, MEMORANDUM AND ORDER

      This matter is before the Court on Defendant’s Motion for Immediate

Release. The Court has reviewed the Motion. The Motion will be granted, with the

conditions stated herein.

      IT IS HEREBY ORDERED that the Supplemental Motion for Relief

Under the First Step Act is granted. The Bureau of Prisons is ordered to release

Defendant immediately

      IT IS FURTHER ORDERED that the Court imposed an additional term of

supervised release, namely a period of home confinement until August 13, 2020

remains in effect. Such a period of home confinement would protect the public and
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enable Defendant to make a smooth transition back to the community.

      Dated this 6th day of July, 2020.




                                     ________________________________
                                        HENRY EDWARD AUTREY
                                     UNITED STATES DISTRICT JUDGE
